Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 1 of 14

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

RYAN NOAH SHAPIRO,

Plaintiff,

V. Civil Action No. 13-CV-00595
DEPARTMENT OF JUSTICE,

Defendant. :

SECOND DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am currently the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Records Management Division (“RMD”), in Winchester, Virginia. I have held this
position since August 1, 2002. Prior to joining the Federal Bureau of Investigation (“FBI”), from
May 1, 2001 to July 31, 2002, I was the Assistant Judge Advocate General of the Navy for Civil
Law. In that capacity, I had direct oversight of Freedom of Information Act (“FOIA”) policy,
procedures, appeals, and litigation for the Navy. From October 1, 1980 to April 30, 2001, I
served as a Navy Judge Advocate at various commands and routinely worked with FOIA matters.
I am also an attorney who has been licensed to practice law in the State of Texas since 1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 270
employees who staff a total of ten (10) FBIHQ units and two (2) field operational service center
units whose collective mission is to effectively plan, develop, direct, and manage responses to
requests for access to FBI records and information pursuant to the FOIA, as most recently
amended by the OPEN Government Act of 2007 and the OPEN FOIA Act of 2009; Privacy Act of

1974; Executive Order 13526; Presidential, Attorney General and FBI policies and procedures;
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 2 of 14

judicial decisions; and Presidential and Congressional directives. My responsibilities also
include the review of FBI information for classification purposes as mandated by Executive Order
(“E.O.”) 13526,' and the preparation of declarations in support of Exemption 1 claims under the
FOIA.” [have been designated by the Attorney General of the United States as an original
classification authority and a declassification authority pursuant to E.O. 13526, §§ 1.3 and 3.1.
The statements contained in this declaration are based upon my personal knowledge, upon
information provided to me in my official capacity, and upon conclusions and determinations
reached and made in accordance therewith.

(3) Due to the nature of my official duties, ] am familiar with the procedures followed
by the FBI in responding to requests for information from its files pursuant to the provisions of the
FOIA, 5 U.S.C. § 552, and the Privacy Act, 5 U.S.C. §552a. Specifically, I am familiar with the
FBI’s handling of FOIA requests that were received from plaintiff seeking access to records
pertaining to Occupy Wall Street-related protests in Houston, Texas.

(4) This declaration supplements, and hereby incorporates by reference the
information previously provided in my first declaration dated July 16, 2013 (“First Hardy
Declaration”) (See Docket [“Dkt.”] No. 9). The purpose of this declaration is to respond to
specific issues raised by plaintiff in his Memorandum of Points and Authorities in Opposition to
Defendant’s Motion to Dismiss or, In the Alternative, for Summary Judgment (“Opposition”),
including the adequacy of the FBI’s search and to further elaborate on the FBI’s justifications for
the withholding of information pursuant to FOIA Exemptions (b)(1), (b)(3), (b)(6), (b) (7)(A),

(b)(7)(C), (b)(7)(D), and (b)(7)(E).

' 75 Fed. Reg. 707 (2010).

* 5US.C. § 552 (b)(I).
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 3 of 14

ADEQUACY OF SEARCH

(5)  AsI previously stated in the First Hardy Declaration, 4] 22, the FBI’s Central
Records System (“CRS”) is a centralized FBI records system consisting of administrative,
applicant, criminal, personnel, and other files compiled for law enforcement purposes. The CRS
currently consists of over 116.2 million records. Given its comprehensive nature, the CRS is the
principal search mechanism employed by RIDS to locate records responsive to FOIA requests.

(6) The mechanism that the FBI uses to search the CRS is the Automated Case Support
System (“ACS”), which itself is comprised of three integrated electronic applications:
Investigative Case Management (“ICM”), Universal Index (“UNI”), and Electronic Case File
(“ECF”). As relevant here, RIDS conducted an ACS search for records related to a similar FOIA
request using multiple name variations as noted at {| 36 of the First Hardy Declaration, listing 43
separate search terms. These searches encompassed records located both at Headquarters and
Field Offices. These ACS searches would identify any responsive main files as well as
cross-references. See First Hardy Declaration at § 23 for explanation of main files and
cross-reference files. Asa result of the ACS search no records were located.

(7) In addition, although beyond normal searching policies and because of the nature of
the request, the FBI took an additional step and conducted a text search of the ECF to identify all
potentially responsive main and cross-reference files indexed under the 43 search terms. See First
Hardy Declaration at § 36. Asa result of this search, the FBI located 12 pages of responsive
records.

(8) Plaintiff argues that the FBI “ignored all of the leads that were turned up by the
documents.” See Opposition, pg. 31. As previously stated in the First Hardy Declaration, § 34,

and contrary to plaintiffs claim, the FBI did follow-up with leads contained in the documents that
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 4 of 14

had been located through an initial search for records responsive to plaintiffs request.
Specifically, the FBI processed and released to plaintiff the IIR and iWatch Report that are
mentioned on Shapiro-11 and 13.

(9) Plaintiff also challenge the FBI’s search surmising that other documents must exist
because of reference to an email that was not produced within the records released to plaintiff.
See Opposition at pg. 31. It should be noted that while an email pertaining to a responsive
document may be referenced within the records, the email may not have been indexed with any of
the search terms the FBI used to locate records responsive to this request. The decision to index
names other than subjects, suspects, and victims is a discretionary decision made by the FBI
Special Agent (“SA”) assigned to work on the investigation, the Supervisory SA (“SSA”) in the
field office conducting the investigation, and the SSA at FBIHQ. The FBI does not index every
name or subject in its files; rather, it indexes only that information considered to be pertinent,
relevant, or essential for future retrieval. See Hardy Declaration, 927. As such, unless this email
was indexed with the words “Occupy Houston,” or some other variable of the search terms used
during processing of this request, the document would not come up in a text search.

(10) Plaintiff also takes issue with the search, contending that the FBI did not explain
how the search for the ITR was conducted and gave “no indication of whether responsive records
would likely have been found anywhere else.” See Opposition, pg. 32. In response, RIDS was
actually following up on a lead contained in one of the responsive documents that described the
IIR and iWatch Report. Thus, a request for those specific documents was sent to the appropriate
unit. Any other additional documents would have been located through the FBI’s reasonable

search of the CRS as described in the First Hardy Declaration §§ 22-27.
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 5 of 14

(11) Plaintiff also complains that the search terms utilized by the FBI were “patently

2

unreasonable.” See Opposition, page 32. As set forth in my first declaration, the FBI searched
using the most logical combination of terms. See First Hardy Declaration | 35-36. Because of
the generic nature of plaintiff's request, the FBI determined that the search terms would logically
be found in responsive records, should they exist. These terms were not only searched in ACS, a
text search of ECF was also conducted. Additionally, once the FBI realized plaintiff's request
had been analyzed too specifically during the administrative phase, they conducted a search for the
broader search term “Occupy Houston.” See First Hardy Declaration, § 36.

(12) Plaintiff also takes issue with the search by stating that there is no indication that
the FBI conducted a search regarding the source mentioned on Shapiro-13. See Opposition, pg.
31-32. The particular source mentioned on Shapiro-13 is a unit under the FBI’s Directorate of
Intelligence (“DI”) Section within the National Security Branch (“NSB”). Any records belonging

to this unit would have been located through a search of the CRS.

THE FBI RELEASED ALL SEGREGABLE INFORMATION

(13) As stated in my First Declaration, the FBI made every effort to provide plaintiff
with all material in the public domain and with all reasonably segregable portions of released
material. The FBI determined that with regard to the exempt information, the material is properly
withheld pursuant to applicable FOIA Exemptions or so intertwined with protected material that
additional segregation is not possible without revealing the underlying protected material. See
First Hardy Declaration at { 43.

JUSTIFICATION FOR WITHHELD INFORMATION

(14) Asset forth in my first declaration, the FBI explained its justifications for

withholding information in this case under Exemptions (b)(1), (b)(3), (b)(6), (b)(7)(A), (b)(7)(C),
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 6 of 14

(b)(7)(D), and (b)(7)(E)._ 5 U.S.C. § 552 (b)(1), (6)(3), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D) and
(b)(7)(E). The following information supplements the previous justifications and specifically
responds to plaintiff's contentions in his Opposition.

Exemption (b)(1)

(15) In regards to plaintiff's argument pertaining to the FBI’s use of repetitive
arguments to justify the assertion of FOIA Exemption (b)(1) in other litigations, it is the FBI’s
practice to conduct document by document review to ensure classified information is properly
marked and protected. In this case, the FBI followed this protocol. A review of the records,
determined that certain information warrants classification at the “Secret” level. The FBI’s
justification for withholding information pursuant to Exemption (b)(1) was set forth in detail in the
First Hardy Declaration, {J 44-56. To further explain the material that is being protected by
Exemption (b)(1) would reveal the very nature of the information the FBI is trying to protect. The
fact that similar arguments have been used in other unrelated litigations does not make the
argument inapplicable. In fact, because many of the FBI’s investigations are similar in nature, it
is logical that the FBI would use the same argument in similar situations.

Exemption (b)(3)

(16) FOIA Exemption (b)(3) was properly asserted to protect information related to
intelligence sources and methods utilized in the investigations at issue. This information was
properly classified at the “Secret” level. Further, description of the specific nature of these
records will defeat the purpose of the protection afforded under Exemption (b)(3) as prescribed by
the National Security Act of 1947. The First Hardy Declaration, {J 44-56 affirmatively state that
the information at issue in these records is in fact sources and methods utilized in the national

security investigations at issue.
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 7 of 14

Exemption 7 Threshold

(17) | This provides additional information and clarity to establish the nexus between the
enforcement of federal law and the compilation of records withheld under Exemption 7. As
provided in my previous declaration, there are dual law enforcement purposes for the compilation
of the responsive records in this case: “the FBI’s general investigative authority” per 28 U.S.C. §§
533 and 534 and the FBI’s assigned “lead role in investigating terrorism and in the collection of
terrorism threat information.” See Hardy Declaration, 62. As discussed in detail below, these
dual purposes are not based on general monitoring or the mere gathering of information, but
grounded in the performance of core FBI law enforcement purposes.

(18) _ First, regarding the FBI’s “general investigative authority,” the investigative
records at issue in this case are a part of the FBI’s CRS and concern documents compiled as a
result of assistance the FBI rendered to various state and local law enforcement agencies which
were investigating potential criminal activity by protestors involved with the “Occupy” movement
in Houston. The FBI assisted these agencies by collecting intelligence related to “Occupy”
movement protests and sharing them with state and local law enforcement partners. The FBI’s
assistance in these state and local criminal investigations is a core federal law enforcement
function of the FBI authorized by law. Specifically, the FBI may provide investigative assistance
to state, local, and tribal law enforcement agencies “in the investigation of matters that may
involve federal crimes or threats to the national security, or for such other purposes as may be
legally authorized.” The Attorney General’s Guidelines for Domestic FBI Operations

(AGG-DOM), paragraph III.C.?_ As pertinent here, the FBI’s assistance would also relate to the

> The Attorney General’s Guidelines for Domestic FBI Operations (AGG-DOM), paragraph III.C., September 29,
2008. The AGG-DOM guidelines are issued under the authority of the Attorney General as provided in sections

509, 510, 533, and 534 of Title 28, U.S. Code and apply to domestic investigative and other activities as prescribed
therein.
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 8 of 14

investigation of federal crimes such as domestic terrorism (18 U.S.C. § 2331) and advocating
overthrow of government (18 U.S.C. § 2385). As such, the responsive records herein were
obtained and complied by the FBI in the exercise of its law enforcement authority.

(19) The FBI is assigned the lead role in investigating terrorism and in the collection of
terrorism threat information within the United States by 28 C.F.R. §0.85 and Annex II to National
Security Presidential Directive 46. In addition, the Intelligence Reform and Terrorism Prevention
Act requires the President to establish an information sharing environment for sharing terrorism
information in a manner that is consistent with national security and applicable legal standards
pertaining to privacy and civil liberties.

(20) Here, carrying out its responsibility as the lead counter terrorism agency in the
United States to detect and thwart terrorism, the FBI, in concert with its state, local, and tribal law
enforcement partners, shared information and focused law enforcement resources relevant to the
investigation of reports of protests which would relate to the investigation of federal crimes such as
domestic terrorism (18 U.S.C. § 2331) and advocating overthrow of government (18 U.S.C. §
2385). These records contain dual law enforcement purposes. These records are not relating to
generalized law enforcement sharing. The records were compiled while actively assisting state
and local law enforcement agencies and assessing potential terrorist threats.

Exemption (b)(7)(A)

(21) The FBI asserted FOIA Exemption (b)(7)(A) to withhold in their entirety two (2)
records that consist of a criminal and investigative nature. These documents were Bates-stamped
Shapiro-1 through 3 and Shapiro-14 through 17. The FBI still asserts FOIA Exemption (b)(7)(A)
to protect information contained within these documents. These documents are intelligence

reports. An intelligence report is a text-based briefing or information-sharing product, generally
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 9 of 14

prepared for senior management officials to inform them about current threats. The underlying
reporting and analysis is condensed in order to provide the audience with an essential
understanding of the threat and proposed actions.

(22) The SA overseeing the investigations at issue advised that some of the information
contained in these documents pertain to pending investigations which are currently being
investigated with the assistance of active FBI sources. A premature release of this information
will not only expose the source, but will reveal the target, focus, and scope of the investigation
negatively impacting this ongoing investigation. Moreover, the information that was provided to
the FBI in these records is also withheld pursuant to FOIA Exemption (b)(7)(D).

(23) The FBI conducted a further review of these documents marked Shapiro-1 through
3 and Shapiro-14 through 17 to release any segregable information. This review concluded that
no information could be segregated without negatively impacting the on-going proceedings, as
related in the preceding paragraph.

Exemptions (b)(6) and (b)(7)(C)

(24) The FBI carefully balanced the privacy interests of each individual against the
public interest in disclosure as articulated in the Hardy Declaration. See First Hardy Declaration,
4 64. Nevertheless, with respect to the names and indentifying information of individuals who
provided information to the FBI,* plaintiff alleges that this information has been wrongly withheld
by the FBI. The FBI balanced the privacy interest of the third parties who provided information
to the FBI in the records at issue. When balancing these individuals’ privacy against the public
interest in disclosure, the FBI determined that these individuals have a well recognized privacy

interest, which is not outweighed by any public interest in disclosure. Specifically, among other

* Plaintiff is not challenging redactions to the names and/or identifying information of FBI Special Agents and

support personnel, the names of third parties who are merely mentioned, or the names of non-FBI federal government
personnel. See Opposition, pg. 27.
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 10 of 14

things, these individuals have a substantial interest in the nondisclosure of their identities and their
connection with these particular incidents, because of the potential for future retaliation,
embarrassment, harassment, or unnecessary judgment. There is no basis on the face of the
records at issue to determine that these names and or identifying information bear in any way upon
the FBI’s performance of its statutory duties, or contribute significantly to the public
understanding of its operations or activities. Moreover, the name and or identifying information
of these third parties individuals who provided information to law enforcement in these records is
also withheld pursuant to FOIA Exemption (b)(7)(D).

Exemption (b)(7)(D)

(25) In the records responsive to plaintiff's requests, the FBI relied upon exemption
(b)(7)(D) to withhold the names or identifying information of individuals who provided
information to the FBI about potential criminal activities pursuant to an express agreement of
confidentiality. Specifically, the confidential sources at issue in these records are established
sources for which the FBI has assigned specific source symbol numbers. This is evident from the
face of the records; which are “Confidential Human Source Reporting Documents.” Only
established sources of the FBI receive source symbol! numbers. The fact that a source symbol
number is assigned to the sources at issue in this case is a clear indication of the confidentiality
agreement between these sources and the FBI.

(26) The FBI has also protected names and identifying information of third party
individuals who provided information to the FBI under circumstances where a promise of
confidentiality can be implied. Specifically, these sources are individuals who are members of
organized violent groups. As such, they come in contact with criminal elements and share

information that such elements believe is not intended for disclosure to law enforcement.

10
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 11 of 14

Information provided by these sources is singular in nature due to their source closeness to
criminal elements. With all certainty, these individuals will not share this information with any
law enforcement agency if they are aware that their identities and the information they provided
will be further disclosed. On the face of the documents at issue, it was appropriate for the FBI to
infer an expectation of confidentiality given the seriousness of the potential crime, the position of
the sources, and the information they provided.°

Exemption (b)(7)(E)

(27) The FBI has withheld the mention of sensitive law enforcement techniques that the
FBI uses to obtain invaluable intelligence information in current criminal and national security
investigations. While the techniques may be known by the public in a general sense, the technical
analysis of these sensitive law enforcement techniques, to include the specifics of how and in what
setting they are employed, is not generally known to the public. Revealing the techniques,
potential targets of the techniques, and/or the nature of the information gleaned via their use in the
context of this material would effectively reveal specifics of how, and in what settings, the
techniques are employed. As a result, criminal targets would be better able to avoid detection by
developing countermeasures to circumvent the ability of law enforcement officials to use the
techniques, thus rendering them useless to the FBI and other law enforcement agencies.
Revealing details about these sensitive law enforcement techniques would compromise a crucial
means of collecting intelligence information and severely hamper the FBI’s law enforcement

efforts to detect and apprehend individuals who seek to violate the United States criminal and

° While preparing this declaration, it was noted that on Bates page Shapiro-13, (b)(7)(D)-2 was inadvertently asserted
for names, identifying data and/or information provided by individuals under an “express” assurance of confidentiality
when (b)(7)(D)-1 should have been asserted for names, identifying data and/or information provided by individuals
under an “implied” assurance of confidentiality. This withholding is supported by the same criteria that were
reflected in the First Hardy Declaration, § 78.

11
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 12 of 14

national security laws; therefore, this information is appropriately exempt from disclosure
pursuant to Exemption (b)(7)(E).

(28) The FBI has withheld the titles of certain units that may be focused on investigating
threats to national security. Revealing which FBI units perform which functions and
investigative duties may alert individuals to the type and level of focus of particular activities.
Additionally, for some units, the name also reveals the specific investigative technique in which
the unit specializes, and it is a technique which the FBI seeks to protect. For example, and
hypothetically, suppose the FBI had a unit whose mission it was to penetrate and monitor the food
buying habits of individuals suspected of hoarding food because they were warned of a terrorist
attack. Ifthe name of this unit was the Supermarket Cyber Unit, that name would tipoff to
individuals that food purchasing was monitored, a technique not generally known to the public.
Because this information, if known, could reasonably be expected to reveal the FBI’s strategies
and approaches to threats to national security, and thereby risk circumvention of the law, the FBI
withheld this information pursuant to Exemption (b)(7)(E).

(29) Plaintiff argues that the FBI redacted the handling instructions and the address of
Intelligence Watch on Shapiro-13 and that this information bears no connection to law
enforcement. The FBI properly withheld an internal address and phone number used daily and
routinely by the FBI during the performance of the FBI’s law enforcement mission. The relative
benefit of these techniques and/or procedures could be diminished if the actual information is
revealed in this record. Release of this phone number and internal web address could subject the
FBI to massive, disruptive, and misleading amounts of communications as well as harassment and
threats. It could also enable circumvention of the law by allowing criminals to gain access to

internal communication channels used by the FBI to communicate internally. As such, release of

12
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 13 of 14

this number and the web address would clearly disrupt official business by impeding the ability of
the FBI to conduct and conclude law enforcement investigations in a timely matter. As stated in
the First Hardy Declaration the FBI properly asserted FOIA Exemption (b)(7)(E) to protect this
information. See First Hardy Declaration, {| 84

(30) Plaintiff speculation pertaining to the FBI’s redaction of the handling instructions is
incorrect. On Shapiro-13, the FBI asserted FOIA Exemption (b)(7)(E) to protect information
pertaining to a specific law enforcement technique utilized to conduct national security
investigations. As stated in the First Hardy Declaration, to provide additional details pertaining to
this technique will reveal the very nature of it. /d.

SEPARATE RESPONSES

(31) This paragraph addresses plaintiff's complaint that they were unable to determine
which Bates-stamped pages related to which of the three requests. The FBI made two separate
releases to plaintiff on June 24, 2013. The first release, which relates to FOIPA request number
1206188-000 as indicated in the subject line of the letter, consists of 12 reviewed pages. These
pages are Bates-stamped Shapiro-1-12. See First Hardy Declaration, Ex. P. The second release,
which relates to FOIPA request number 1205920-002 as indicated in the subject line of the letter,
consists of 5 reviewed pages. These pages are Bates-stamped Shapiro-13-17. Jd.

CONCLUSION

(32) The FBI has released to plaintiff all reasonably segregable, nonexempt
information responsive to plaintiff's FOIA requests subject to this litigation. Upon request, the

FBI will provide to the Court copies of the redacted information for in camera review if necessary.

13
Case 1:13-cv-00595-RMC Document13-1 Filed 07/30/13 Page 14 of 14

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct

Executed this ae July, 2013.

DAVID M. HARDY

Section Chief

Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Winchester, Virginia

14
